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APPENDIX 4
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Page |
1 UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
2
Judge Laurel M. Isicoff
3
IN RE:
CARDIAC MANAGEMENT SYSTEMS, CASE NO: 08-19029-BKC-LMI
Debtor.
/
KENNETH A. WELT, CASE NO: 10-3060-BKC-LMI
Plaintiff,
8 Vs
BDO SEIDMAN, LLP,
9 Defendant.
/
10
11 MOTION TO COMPEL ARBITRATION AND TO STAY
DISCOVERY, OR IN THE ALTERNATIVE MOTION TO
12 STAY (14)
13
OCTOBER 18, 2010
14
15
16 The above-entitled cause came on for hearing
17 before the HONORABLE LAUREL M. ISICOFF, one of the
18 judges in the UNITED STATES BANKRUPTCY COURT, in and
19 for the SOUTHERN DISTRICT OF FLORIDA AT LARGE, at 51
20 SW 1st Avenue, Miami, Dade County, Florida, commencing
21 at or about 3:00 p.m., on October 18th, 2010, and the
22 following proceedings were had:
23
24 Reported by: Carmen E. De La Cruz
25

 

 

 

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1 APPEARANCES :

2 GENOVESE JOBLOVE & BATTISTA, P.A., by

DAVID C. CIMO, Esquire

3 On behalf of Kenneth A. Welt, Plaintiff.

GREENBERG TRAURIG, by
5 JOHN B. HUTTON, Esquire
On behalf of BDO Seidman, LLP, Defendant.

 

 

 

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1 THE COURT: Okay. Cardiac. Welt versus

2 BDO Seidman. I will take appearances starting, I

3 guess, with Mr. Hutton since he's up at the podium.

4 MR. HUTTON: Thank you, Your Honor.

5 John Hutton on behalf of Defendant, BDO.

6 MR. CIMO: Your Honor, David Cimo from

7 Genovese Joblove & Battista on behalf of the

8 Plaintiff, Chapter 7 Trustee, Kenneth Welt.

9 THE COURT: Okay. All right. So I have
10 reviewed the complaint, I have reviewed the motion to
11 compel arbitration, I have reviewed the plaintiff's
12 response and I have reviewed various and sundry cases
13 that were cited by the parties in their papers.

14 So, Mr. Hutton, since this is your motion

15 I'll ask you if there's anything you'd like to add or
16 repeat or highlight or pound into my head in case I
17 didn't understand it from your motion before I start
18 asking you the questions that I have?

19 MR. HUTTON: Certainly, Your Honor. We
20 believe that the issue before the Court is whether

21 this lawsuit by the Trustee, asserting that BDO failed

22 to conduct audits in accordance with general accepted
23 -- generally accepted accounting standards in the

24 United States as a representative that it would do in
25 the engagement letters is subject to arbitration as

 

 

 

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1 provided in those engagement letters.
2 We believe this is essentially a breach of
3 contract and professional negligence claim that is
4 cast as a fraudulent transfer claim, by alleging that
5 because BDO failed to conduct a proper audit, the
6 $215,000 in fees that it was paid over four years was
7 a fraudulent transfer. In other words, because it was
8 a bad audit or there were bad audits over the four
9 year period, that the debtor did not, Cardiac
10 Management Services, did not receive reasonably
11 equivalent value.
12 The -- we would point out to the Court and
13 I want to highlight that the arbitration clause in the
14 litigation -- in the engagement letters before the
15 Court is very broad and provides that any claims
16 relating to BDO's audits are required to be resolved
17 in arbitration. It's the arbitration provision that
18 the trustee admits in his response on Page 5 is very
19 broad. And although we believe the trustee has
20 attempted to draft around the arbitration agreement by
21 attaching a fraudulent transfer label to his
22 allegations, the -- we believe the trustee's equitably
23 estopped from objecting to arbitration because his
24 claims are based upon the auditing services BDO
25 provided pursuant to those very same engagement

 

 

 

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1 agreements, including whether BDO conducted audits
2 that failed to meet professional standards, and
3 whether the trustee is entitled to a refund of the
4 fees paid as a result.
5 Your Honor, we point out that the
6 equitable estoppel argument is not even addressed by
7 the trustee in the response, but it is a doctrine that
8 applies here both under recent Supreme Court authority
9 and under Eleventh Circuit authority. And we think
10 the doctrine does require these claims be arbitrated.
11 THE COURT: Okay.
12 MR. HUTTON: I wanted to highlight some of
13 the procedural history of this case because I think
14 it's also important here. As alleged in the
15 complaint, CMS filed bankruptcy Chapter 11 on June
16 30th, of 2008.
17 THE COURT: Uh-huh.
18 MR. HUTTON: That's about two years and
19 four months ago.
20 THE COURT: Uh-huh.
21 MR. HUTTON: On October 20th, of 2008
22 Cardiac sold substantially all of its assets pursuant
23 to a Section 363 sale, that's almost two years ago to
24 the day.
25 THE COURT: Uh-huh.

 

 

 

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1 MR. HUTTON: And on November 13th, of 2008
2 the case was converted to Chapter 7, and Welt was
3 appointed as trustee just under two years ago. So
4 this case is certainly not in its infancy as suggested
5 by the trustee, and all of the assets were sold two

6 years ago. And then about a year and a half after

7 Welt was appointed, on May 13th Welt sued BDO in State

8 Court and we've attached a copy of that amended

9 complaint as I think it's Exhibit 2, to our motion.
10 THE COURT: Uh-huh.
11 MR. HUTTON: And I wanted to focus on that
12 because the allegations in that amended complaint in

13 the State Court are virtually identical to the factual

14 allegations made in the adversary complaint in this
15 Court to support the fraudulent transfer theories.
16 That is, in particular, the allegations that are

17 contained in the State Court pleading, the heart of

18 the pleading, in Paragraphs 39 to 46(j), that those

19 are the allegations pursuant to which the trustee

20 alleges in the State Court that BDO alleges what the
21 alleged duties of BDO were under the engagement

22 agreements and what omissions were allegedly committed
23 by BDO.

24 On June 2nd of 2010, BDO moved to compel

25 arbitration in State Court and that is scheduled to be

 

 

 

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1 heard by the State Court on November ist.

2 THE COURT: Uh-huh.
3 MR. HUTTON: After commencing the State

4 Court action on May 13th, and by the way, the State

5 Court action based upon those same allegations that
6 are asserted here --

7 THE COURT: Uh-huh.

8 MR. HUTTON: -- a failure to comply with

9 GAAS, based upon the same allegations the trustee
10 asserts in the State Court theories of professional
11 negligence and aiding and abetting a breach of
12 fiduciary duty by the officers of CMS, and the trustee
13 seeks $6 million in damages, including the $215,000 in
14 fees that it seeks in this adversary complaint in this
15 Court, and that's in Paragraph 65 of the amended
16 complaint in the State Court. And the -- and after

17 commencing that State Court action back on May 13th of

18 | this year, 11 days later the trustee commenced the

19 adversary complaint in this Court on May 24th, of

20 2010.

21 As I noted, the main allegations that

22 support the State Court action are repeated verbatim
23 in this adversary proceeding. If Your Honor compares

24 Paragraphs 39 to 46(j) in the State Court complaint

25 with Paragraphs 30 to 37(j) in the adversary

 

 

 

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1 complaint, you'll see that they're identical.

2 And again, the trustee alleges that BDO

3 was retained to conduct audits for CMS, that BDO

4 represented in engagement letters that it would

5 conduct audits in accordance with generally accepted

6 accounting standards and that BDO's audits did not

7 comply with those professional standards.

8 Another interesting procedural step I

9 wanted to highlight is that as part of the adversary
10 complaint that was filed in this Court, the trustee

11 asserted a jury trial demand. And the very same day
12 that the adversary complaint was filed, the trustee

13 moved to withdraw the reference based on jury trial

14 demand and the trustee noted in that motion to
15 withdraw reference that he was not consenting to a

16 jury trial in the Bankruptcy Court.
17 And, in fact, if you look at the motion to
18 withdraw reference that was filed here, the trustee

19 actually, I think, mistakenly mischaracterizes the
20 claims that are asserted in this case as professional
21 negligence and aiding and abetting. He recognized it
22 as a mistake, but I think it does highlight the fact
23 that there is substantial overlap and a substantial
24 identity of the factual allegations that are made so
25 it was easy for the trustee to make that mistake. And

 

 

 

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1 we do think that at its heart, the claims in this
2 adversary proceeding are in the nature of breach of
3 contract and fraudulent -- and professional negligence
4 claims.
5 Of course, the District Court shortly
6 thereafter remanded back to this Court for pretrial
7 proceedings as is customary.
8 THE COURT: Uh-huh.
9 MR. HUTTON: But the point here is that
10 this case will not be tried in this Court in any
11 event.
12 THE COURT: Uh-huh.
13 MR. HUTTON: And I think that's relevant
14 when we get later to the McMahon factors and the
15 Electric Machinery factors. Insofar as one of the
16 purposes or the goals of the Bankruptcy Code is
17 consolidation of proceedings in one forum. This case
18 is not going to be tried in the Bankruptcy Court in
19 any event.
20 THE COURT: Well, we're just a unit of the
21 District Court, Mr. Hutton. So, it's just venue not
22 jurisdiction; right?
23 MR. HUTTON: No, but it is -- I think when
24 the cases talk about consolidation in one forum, they
25 talk about the specialized expertise that the

 

 

 

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1 Bankruptcy Court has to deal with bankruptcy issues on
2 an everyday basis.

3 THE COURT: Who is your judge?

4 MR. HUTTON: Pardon?

5 THE COURT: Who is the judge in the

6 District Court?

7 MR. HUTTON: In this case that decided and
8 remanded, it was Cecilia Altonaga.

9 THE COURT: I see she closed the case.

10 MR. HUTTON: Yes, she closed it.

11 THE COURT: Uh-huh.

12 MR. HUTTON: I don't know that if
13 ultimately if this Court doesn't send this case to
14 arbitration and keeps the case whether it goes
15 | ultimately to her or some other judge.

16 THE COURT: Right.

17 MR. HUTTON: I don't know.

18 THE COURT: Well, I'll give you a hint.

19 If it does go back to her, she says that unless you
20 stand before her and say we're ready to pick the
21 trial, she sends it back to Bankruptcy Court. So,
22 don't have any pretrial motions left.
23 Okay. So you -- but let me ask you
24 something, in terms of the focus of the proper
25 exercise by the Bankruptcy Court, the proper deference

 

 

 

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1 of the Court to the F --

2 MR. HUTTON: Uh-huh.

3 THE COURT: -- does it matter whether the
4 bankruptcy jurisdiction is being exercised by the

5 District Court or the Bankruptcy Court? Should it

6 make a difference? If the focus is on the tension

7 between the Bankruptcy Code and the FAA, should it

8 make a difference which judge is hearing the case?

9 MR. HUTTON: I think insofar -- again,
10 this goes to the trustee's argument about there being
11 an inherent conflict between sending this case to
12 arbitration and goals and purposes of the Bankruptcy
13 Code.

14 THE COURT: Right, but I'm saying if the

15 goals and the purposes of the Bankruptcy Code, are you
16 suggesting that the District Court is not as well

17 versed in the bankruptcy -- well, are you suggesting
18 that ostensibly the District Court is not as well

19 versed in the Bankruptcy Code or its ability to

20 enforce the purposes of the Bankruptcy Code as is the

21 Bankruptcy Court?

22 MR. HUTTON: No. What I'm suggesting,

23 Your Honor, is I think when the cases focus on -- and
24 quite candidly, I've not seen a case expressly address
25 the issue to withdraw of reference or District Court

 

 

 

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1 familiarity. Usually as I've seen it focuses on the

2 familiarity of the Bankruptcy Court with bankruptcy

3 issues.

4 THE COURT: Right, but the focus is not

5 the familiarity of the Court. The focus is the

6 purpose of the Bankruptcy Code and whether that

7 purpose is being realized through the Bankruptcy

8 Court, the District Court or the Circuit Court. We

9 focus on the purposes, not the Court itself; correct?
10 MR. HUTTON: Well, I think the Court -- in
11 my view, the Court does matter in the fact that this
12 is not going to be heard and consolidated in the

13 Bankruptcy Court. That's just one factor, but I think
14 insofar as --

15 THE COURT: But there are really only two
16 factors that the Eleventh Circuit tells us to look at;
17 isn't it?

18 MR. HUTTON: Well, I think there's a

19 number of considerations just -- you know, I'll jump

20 ahead to that argument, but I think there are a number

21 of considerations that the Court looks at to determine
22 whether there is an inherent conflict and that may be

23 whether there's an issue that pertains to a plan issue
24 that is important to resolve right away in the

25 Bankruptcy Court.

 

 

 

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1 THE COURT: Uh-huh.

2 MR. HUTTON: There is that $10 million

3 issue that was in, I think, the Fourth Circuit case

4 that is cited by the trustee. It was important in

5 that case in White Mountain, it's a Fourth Circuit

6 case, it's important in that case to determine whether
7 a $10 million advance could be treated as debtor

8 equity because whether it would, was treated as one or
9 the other, impacted the ability of the debtor to

10 formulate a plan.
11 THE COURT: Uh-huh.

12 MR. HUTTON: So I think that was a factor.
13 It's one of the, you know, one of the few -- I think

14 that by looking at instances like that where the Court
15 decided that there was an inherent conflict, it

16 highlights why in this case it is not.

17 Also, the case cited by both sides,

18 National Gibson --

19 THE COURT: Uh-huh.

20 MR. HUTTON: -- is another example where

21 the Court did find inherent conflict and it did so

22 because what the Court was asked to do in that case
23 was to construe its own orders, in terms of whether
24 the confirmation order and 524 prevented the party in
25 that case from collecting pre-petition debts.

 

 

 

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1 THE COURT: Uh-huh.
2 MR. HUTTON: And I think there are two --
3 if there were no state law issues involved, the Court
4 was being asked strictly to enforce its own order,

5 interpret the Bankruptcy Code, I think that's another

6 example, but here -- and there's another example,
7 Gandy, from the Fifth Circuit where there are issues
8 of extraterritorial jurisdiction and there was a need
9 to perhaps enforce jurisdiction over assets
10 transferred to a foreign country.
11 THE COURT: Uh-huh.
12 MR. HUTTON: That's another example. None
13 of these circumstances are present here. What you
14 have is a case, and that's why I gave you some of the

15 background.

16 THE COURT: Uh-huh.

17 MR. HUTTON: This is a case more than two
18 and a half years after it was filed, more than two

19 years after all the assets were sold, the issues in

20 this, if you look at all the allegations, the factual

21 | issues that the Court's going to be asked to address,
22 or the arbitrator's going to be asked to address, are
23 not bankruptcy issues.

24 THE COURT: It's a collection issue.

25 Okay. I understand that argument.

 

 

 

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1 MR. HUTTON: So we don't think there is

2 any conflict whatsoever, much less an inherent

3 conflict because they're really and truly the issues

4 that are being addressed here and in the State Court

5 which is also subject to a motion to compel

6 arbitration that's going to be heard on November Ist,
7 are really issues, not everyday issues the Court --

8 this Court necessarily deals with, but issues of

9 accounting standards obligations, under Generally
10 Accepted Accounting Standards, what those -- how those
11 obligations apply in this case, whether those

12 obligations were met and so on.
13 THE COURT: Well, what about Mr. Cimo's
14 argument, at least indirectly by citation of cases

15 that the trustee isn't even bound by the arbitration
16 provisions because this is a right that exists outside
17 of the agreement, and therefore, the arbitration

18 provisions, putting aside for a minute the missing two
19 years, the arbitration agreement wouldn't apply?
20 MR. HUTTON: Well, if -- is Your Honor
21 referring to the cases that talk about fraudulent
22 transfer actions as not debtor --
23 THE COURT: No, let's forget about the
24 cases relied on. What I want to know is what is your
25 position on the trustee's argument that because the

 

 

 

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1 cause of action that's being pursued is a bankruptcy

2 specific cause of action, I believe the trustee cites

3 among other cases the HR Certified case, but because

4 the cause of action is outside the contract, it's a

5 bankruptcy cause of action, that the trustee is not a

6 party to the -- for purposes of this lawsuit, is not a

7 party to that engagement letter, and therefore, the

8 arbitration provision doesn't even apply? So we never

9 get to the standard of when the Court should or should

10 not defer to the arbitration provision. So what is

11 your response to that argument?

12 MR. HUTTON: Well, the response, Your

13 Honor, and this is where we've invoked the equitable
14 estoppel argument --

15 THE COURT: Uh-huh.

16 MR. HUTTON: -- because we think that, you
17 know, yes, the trustee in his capacity here nominally
18 asserting a fraudulent transfer claim is not standing
19 in the shoes of the debtor, ostensibly is standing in

20 the shoes of the creditors who would have had the

21 right under state law to assert a fraudulent transfer
22 claim.

23 THE COURT: Uh-huh.

24 MR. HUTTON: And they cite the Third

25 Circuit opinion, Hayes, and our response to that and

 

 

 

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1 what those cases have not considered and what the

2 trustee doesn't address here is the equitable estoppel
3 argument, and I think that's an important --

4 THE COURT: That you shouldn't be able to
5 rely on the contract and then step outside the

6 contract in terms of getting the relief.

7 MR. HUTTON: Yes, Your Honor, that's

8 correct. And the lead case that we cite for that is

9 Andersen versus Carlisle, which is a 2009 Supreme
10 Court case. And that was an action with investors and
11 a tax scheme sued a management firm, a law firm, an
12 accounting firm and related individuals alleging
13 fraud, negligence and other claims after the IRS said

14 that the tax scheme that they had set up was an

15 illegal tax shelter. And the defendants, all of them,

16 the management firm, the accounting firm, the law firm
17 invoked an arbitration clause that is -- was only in
18 the investment management agreement with the

19 management firm.

20 The Sixth Circuit said categorically that
21 non-signatories are not entitled to the benefits of an
22 arbitration agreement, but the Supreme Court reversed
23 and said that that's not correct, that non-signatories
24 can invoke an arbitration clause where relevant state

25 law permits. And there's a number of grounds that the

 

 

 

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Supreme Court indicated exist under relevant state law
for non-signatories to assert the benefits under
contract which include equitable estoppel, and the
Supreme Court said that because traditional principles
of state law allow a contract to be enforced by and
against non-parties to the contract through
assumption, piercing the corporate veil, alter ego,
incorporation by reference, third party beneficiary
theories, waiver and estoppel, the Sixth Circuit's
holding that non-parties to a contract are
categorically barred from Section 3 of the FAA relief
was error. In fact --

THE COURT: Isn't that just what Judge Ray
said in Certified, was that because the parties
seeking arbitration did not show, that the trustee was
bound under any of those state law theories that
arbitration was not applicable? And in Certified
wasn't the party relying on the same issues? In other
words, there was a contract seeking fraudulent
conveyance based on malpractice.

MR. HUTTON: Your Honor, I'm candidly not
familiar with Judge Ray's opinion in Certified.

THE COURT: Uh-huh.

MR. HUTTON: I would note that there

are --

 

 

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1 THE COURT: Maybe I'm giving the wrong

2 name. No, Certified. That's right. Uh-huh. Okay.

3 Go ahead.

4 MR. HUTTON: I would note that even before
5 the Supreme Court opinion, contrary to the Sixth

6 Circuit, there are a number of Eleventh Circuit

7 opinions that recognize equitable estoppel, including
8 McBro Planning and Development from 1984.

9 THE COURT: Uh-huh.
10 MR. HUTTON: And Blinko versus Greentree
11 Servicing. In fact, Blinko is interesting. It's a
12 recent 2005 opinion, because neither party was
13 actually a party to the arbitration agreement. They
14 were husband and wife borrowers that asserted RESPA
15 claims against a successor servicer that actually

16 bought the rights to the note and mortgage out of the

17 Canseco bankruptcy.

18 THE COURT: Uh-huh.

19 MR. HUTTON: The servicer revoked the
20 arbitration clause and the note, which the husband

21 signed but the wife did not. And the husband and wife

22 argued that servicing is a separate function and does
23 not arise out of the note. And also that because the
24 wife never signed the note, that she was not bound by
25 the arbitration provision that was contained only in

 

 

 

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1 note, it was not in the mortgage.
2 The Eleventh Circuit held two things:
3 Number One, that the arbitration clause was broad
4 enough to encompass the RESPA claims at issue because
5 the servicing function arises out of holding the note

6 and the obligations, the statutory obligations that go

7 along with that.

8 And, secondly, that it was enforceable

9 versus the wife, even though the wife was not a
10 signatory, because she was equitably estopped from
11 claiming the benefits on the note and it's such that

12 she would also be bound by the burdens of that note

13 which do include arbitration.

14 So, we think that the Equitable Estoppel
15 Doctrine is one that's well-founded -- not only

16 required to be recognized under the recent 2009

17 Supreme Court decision in Andersen versus Carlisle,

18 but is also one that's well-founded in Eleventh

19 Circuit case law. And also, because the Supreme Court
20 refers to state law, the BDOC versus B-case is also

21 relevant, and that's the situation where a former

22 partner bought a claim against the BDO partnership

23 seeking retirement benefits.
24 : And although the partner didn't sign the
25 agreement he relied upon the agreement establishing

 

 

 

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1 his claims and he signed previous agreements that had
2 the same arbitration language, the Court held that the
3 claims were subject to arbitration under the Doctrine

4 of Equitable Estoppel.

5 THE COURT: Uh-huh.

6 MR. HUTTON: And here, Your Honor, what

7 we're asserting is that when the trustee is asserting
8 claims against BDO and does so based upon the duties

9 and obligations that it had to perform the audits in
10 accordance with Generally Accepted Accounting

11 Standards in the United States, as it agreed it would

12 do on the engagement letters --

13 THE COURT: Uh-huh.

14 MR. HUTTON: -- and alleges that it failed
15 to perform to those standards, that the trustee is

16 equitably estopped from denying or refusing to

17 arbitrate as contained in those same agreements.

18 THE COURT: Okay. Well -- okay. So

19 you're differentiating if the cause of action arose
20 separate from the agreement. Let's say a BDO partner
21 committed a separate crime or a separate torte for

22 which the debtor had a cause of action.

23 MR. HUTTON: I think --

24 THE COURT: You would differentiate it,
25 because then you're not looking to the contract.

 

 

 

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1 MR. HUTTON: I mean, I think that is a
2 separate issue, that's not the point I was making now,
3 but I think that is another issue.
4 THE COURT: Uh-huh.
5 MR. HUTTON: Because when you look at --
6 for example, they cite Hayes and Company --
7 THE COURT: Uh-huh.
8 MR. HUTTON: -- the Third Circuit opinion,

9 which did not, you know, by the way consider equitable

10 estoppel, the issue wasn't raised, it wasn't argued.
11 It was decided ten years before the Supreme Court

12 decision in Andersen versus Carlisle --

13 THE COURT: Uh-huh.

14 MR. HUTTON: -- and the issue just wasn't
15 presented, but even if it was, if it had been raised,
16 I'm not sure if it would have applied in that case

17 because it dealt with a brokerage agreement with

18 Merrill Lynch the debtor had and the customer

19 agreement had an arbitration clause in it.

20 THE COURT: Uh-huh.

21 MR. HUTTON: The trustee alleged certain
22 security law violations for churning an account and

23 fraudulent transfers relating to that churning. The
24 claims in the case were based upon the representations

25 that were made by -- supposedly by Merrill Lynch to

 

 

 

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1 the debtor customer, you know, in terms of types of

2 investments that would be made --

3 THE COURT: Right.

4 MR. HUTTON: -- and so on, not based upon
5 expressing any duties or obligations under the

6 customer agreement. In fact, one of the things that

7 the debtor tried to do during the case was to assume

8 the customer agreement, but the Court said, no, we're
9 not going to do that. That's not executory. There
10 are no obligations under our agreement and the

11 arbitration clause is enough --

12 THE COURT: Right.

13 MR. HUTTON: -- alone, was enough to make
14 it executory.

15 THE COURT: Uh-huh.

16 MR. HUTTON: So the Court did, in that

17 case, order arbitration of all claims other than 544,
18 but again, the Court did not consider equitable

19 estoppel and it's not clear that it would have applied
20 because the claims are not based upon representations
21 made in the customer agreement. It was based upon
22 separate verbal representations that were made
23 concerning the type of investments that were being

24 made to the brokerage firms' clients in that case, you
25 know, in terms of the accounts.

 

 

 

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1 THE COURT: Uh-huh. Okay. I'm going to
2 stop you. One more question and then you need to sit
3 down because it's already been a half hour.
4 Mr. Cimo states that you do not -- you
5 failed to include the October 4th through September
6 5th and the October 7th through September 8th
7 agreement. So, does that mean that there were none in
8 existence?
9 MR. HUTTON: Not at all, Your Honor. And

10 let me address and clarify that for you. What we have
11 attached to the complaint and to the State Court

12 | complaint that's attached to the motion to compel

13 arbitration is, first of all, a letter -- an

14 engagement letter dated March 18th, 2008 that pertains
15 to the audit done as of September 30th as to the audit

16 for the year ending September 30th, 2007.

17 THE COURT: Right.
18 MR. HUTTON: And there was after that,
19 Your Honor will recall this case as I mentioned, filed

20 on June 30th, of 2008, so I don't think there was a

21 postpetition letter for the year ending December 30th,

22 2008.

23 THE COURT: Okay. So you're saying --
24 MR. HUTTON: There is a --

25 THE COURT: -- there is a letter for the

 

 

 

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1 first period, but not for the second; is that what
2 you're saying?
3 MR. HUTTON: Well, what I'm saying is that
4 there are letters that we attached for the audit years
5 ending 2007, 2006 and 2004.
6 THE COURT: Uh-huh.
7 MR. HUTTON: The only audit year for which
8 we did not attach an engagement letter was for the
9 audit year ending September 30th, 2005.
10 THE COURT: Okay. And the reason was why?
i1 MR. HUTTON: The reason, obviously after
12 we saw the response and we went back and checked and
13 we spoke with the -- my colleague spoke with the
14 engagement partner at BDO today, we were told that
15 there is a letter, I have a draft of it. They're
16 trying to locate the original. It is in their
17 ordinary and customary practice to do it, and you
18 know, they believe they would not have done an audit
19 without having an engagement letter. It's our intent
20 to -- I have the draft, it was dated December 14th,
21 2005. It's out intent to supplement the record with
22 the original. I don't know if it's the trustee's
23 contention that there was none or that, you know,
24 simply, you know, that we failed to attach it.
25 THE COURT: Okay. Well, that's an open

 

 

 

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1 issue then. Okay. Thank you, Mr. Hutton.
2 All right. Mr. Cimo, anything you want to
3 highlight before you address the issues raised by

4 Mr. Hutton and I ask the questions that I have?

5 MR. CIMO: Yes, Judge, very briefly. It
6 did take a half hour because he had to explain away
7 the fact what's very simple, which is, this is an

8 action under 544 and 548 of the Bankruptcy Code.

9 These claims did not exist until the petition was
10 filed.

11 For Mr. Hutton to argue that equitable

12 estoppel applies when these claims could only be filed
13 in Bankruptcy Court, is beyond absurdity. These are
14 not state law claims. 726 is only applied under the
15 Florida Fraudulent Transfer Statute vis-a-vis 544.

16 When you go to my complaint, this is an action

17 asserting rights under 544 and 548. 544 allows us to

18 go back four years, 548 allows us to go back two
19 years.
20 Moreover, I assure you if we sought

21 arbitration and didn't file these in front of the

22 Bankruptcy Court, they would be seeking to dismiss

23 them as the arbitration panel not having any

24 jurisdiction to be deciding claims under Section 544,

25 548 of Bankruptcy Code. So we filed this lawsuit the

 

 

 

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1 only place where we could file it. We couldn't file
2 it in State Court. We couldn't file it in the

3 arbitration Court. We could only file it here. And

4 the rational for this is aptly explained and not

5 reversed by a Supreme Court case in our response

6 papers and the Third Circuit case that we cited, which
7 if you turn to Page --

8 THE COURT: Are you talking about Hayes?

9 MR. CIMO: -- 6 of 14 of our brief, this
10 is the rational of the Third Circuit in Hayes versus
11 Merrill Lynch, quote, "Such claims are not derivative

12 to the bankrupt. They are creditor claims of the

13 Bankruptcy Code, that the Bankruptcy Code authorizes

14 the trustee to assert on their behalf. The Supreme

15 Court has made it clear that it is the parties to an
16 arbitration agreement who are bound by it, and whose
17 intentions must be carried out. Thus, there is no

18 justification for binding creditors to an arbitration
19 clause with respect to claims that are not derivative
20 from one who is a party to it." It follows, "That the
21 trustee cannot be required to arbitrate its Section

22 544(b) claims and that the District Court was not
23 obligated to stay them pending arbitration."
24 He's trying to basically stick a square

25 peg in a round hole. We don't think equitable

 

 

 

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1 estoppel could ever apply under these circumstances,

2 and we've cited other cases that clearly state for the
3 proposition -- again, we don't think these have all

4 been modified by the Supreme Court opinion, that

5 fraudulent transfer claims are core claims. That

6 they're creatures of statute. This is on Page 7 of 14
7 of my brief; that are solely for the benefit of

8 creditors of the debtor. And as such, are not

9 arbitratable. Part of preferential transfer claims
10 are not arbitratable. National Gypsum, core

11 declaratory judgment claim is not arbitratable. And
12 then Mintze, extent, validity and priority of liens is
13 not arbitratable.

14 If you take away these core claims from

15 the Bankruptcy Court, non-bankruptcy judges or

16 non-District Court judges sitting in bankruptcy are

17 going to be deciding core issues that Congress has

18 clearly delineated can only be decided by the

19 Bankruptcy Court.
20 So, we don't think there's a lot of
21 argument here on what the cases say. We agree with
22 you that the trustee is not a party to the agreement
23 and we believe that under the core analysis and the
24 fact that these claims only existed when the
25 bankruptcy case was filed, we don't understand how

 

 

 

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1 equitable doctrines can apply and take away
2 jurisdiction that only exists before this Court by
3 virtue of a doctrine which is equitable in nature and
4 cannot apply to statutory claims under the Federal
5 Bankruptcy Code.
6 THE COURT: All right. Well, I'm confused

7 now, Mr. Cimo, and I didn't state that the trustee was
8 or was not a party. I asked Mr. Hutton to answer the

9 question as to that.

10 In the Electric Machinery case, which is
11 an Eleventh Circuit case, as you know, the

12 Whiting-Turner versus Electric Machinery, which is a
13 2007 case, the Eleventh Circuit addressed the issue of
14 whether and under what circumstances a Bankruptcy

15 Court must defer to the Federal Arbitration Act.
16 MR. CIMO: Yes.
17 THE COURT: And the first issue that the

18 Court had to decide, although the Court found to the

19 contrary, was whether or not the litigation for which
20 the arbitration right had been asserted was core. And
21 the Court in that case defined core, let's see, I

22 can't find the exact quote but essentially it's a

23 cause of action that only exist in bank -- oh, here we
24 go. It's Toledo citing its own decision, stated, if
25 the proceeding involves a right created by the federal

 

 

 

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1 bankruptcy law it is a core proceeding. Okay.
2 MR. CIMO: Yes.
3 THE COURT: So, your argument about 544
4 and 548 that it's a core proceeding is consistent with
5 what the Eleventh Circuit in the Whiting-Turner case
6 says is a core proceeding.
7 MR. CIMO: Correct.
8 THE COURT: Okay. So then we look at,
9 again, in the same opinion -- oh, God, it's so hard to

10 read this. This is why I like the old-fashioned way.

11 I think it's Page 797 or 796. The Court, in looking °

12 at Judge Williamson's decision states the following in
13 looking at this core issue, again. It says, however,
14 whether or not the Bankruptcy Court has jurisdiction,
15 even exclusive jurisdiction, over a matter isa

16 separate question from whether enforcing a valid

17 arbitration agreement would pose an inherent conflict

18 with the underlying purposes of the Bankruptcy Code.
19 And then the Court goes on to establish a test.

20 The Court says, one, that you have to

21 distinguish between core and non-core. That's the
22 first thing the Eleventh Circuit says. And then the
23 | court says that with respect to non-core, that

24 generally, the Bankruptcy Courts do not have

25 discretion to decline to enforce an arbitration

 

 

 

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1 agreement relating to a non-core proceeding.

2 Then the Eleventh Circuit goes on to say,

3 and here's the second part of the test, however, even

4 if a proceeding is determined to be a core proceeding,

5 the Bankruptcy Court must still analyze whether

6 enforcing a valid arbitration agreement would

7 inherently conflict with the underlying purposes of

8 the Bankruptcy Code.

9 So, I understand your argument and with
10 all sincere, respect and admiration for Judge Ray, I
11 read Whiting-Turner as bypassing this issue of a core
12 proceeding being one that is not derivative of an

13 agreement, that that does not seem to be the test to

14 the Eleventh Circuit. And I'm not saying what I would
15 do in the absence of that language, but it seems to me
16 that the Eleventh -- I mean, it seems very clear to me

17 that the Eleventh Circuit bypasses that completely and

18 says, that is not the analysis. It's not core or

19 non-core.

20 MR. CIMO: Absolutely.

21 THE COURT: I mean, that's not what

22 decides whether the arbitration agreement is binding.
23 So, it would seem to me that for purposes of the

24 Eleventh Circuit and the Whiting-Turner decision, what
25 I would have to look at in terms of determining

 

 

 

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1 derivative, in other words, does it relate to the

2 agreement, putting aside the equitable estoppel

3 argument, okay, is -- does the cause of action flow

4 from the contract rights. And that, to me, is the

5 decision as to whether it's subject to the arbitration
6 clause. So that's -- so my first question to you,

7 Mr. Cimo, is, I've read your complaint and the way I

8 read the complaint is that it is based on the

9 negligent performance, or the gross misperformance, by
10 BDO of its obligations under the agreements. That is
11 the reason why a reasonably equivalent value was not
12 delivered.

13 MR. CIMO: It's based in part on that.

14 THE COURT: Right. So my question is,

15 because I know you mentioned the actual fraud. Okay.
16 So, one, I need to know where in the complaint are

17 there allegations that do not have any relationship to
18 the engagement reflected -- the engagement of BDO

19 pursuant to the engagement letters, putting aside by
20 the way for a minute that there might be gaps, and I
21 will tell you now, that if there was no valid
22 engagement letter with an arbitration provision that
23 year is a different situation. And then we talk about
24 staying non-arbitrable provisions. So, show me -- I
25 have the complaint here in front of me, Mr. Cimo, if

 

 

 

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1 you give me a moment.
2 MR. CIMO: Yes, more than happy to.
3 THE COURT: And, I'm sorry gentlemen, but
4 you're just going to have to get comfortable and put
5 your feet up, or go find a coffee place. We'll be
6 done eventually.
7 MR. CIMO: On Page 5.
8 THE COURT: Okay. So on Page 5.
9 MR. CIMO: Of the complaint.
10 THE COURT: Of the complaint.
11 MR. CIMO: We articulate management's,
12 acts and omissions.
13 THE COURT: Okay. What paragraph, I'm
14 sorry?
15 MR. CIMO: This is the actual Section B.

16 I'm reading the title of the section.

17 THE COURT: Okay. Yes, I see it.

18 MR. CIMO: We incorporate a separate

19 section into the complaint, after the history and
20 business operations of the debtor.

21 THE COURT: Right.

22 MR. CIMO: And it has a B, Capital B,
23 called Management's acts, omissions and breaches of

24 fiduciary duty, and intent to hinder or delay

25 creditors.

 

 

 

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1 THE COURT: Right.
2 MR. CIMO: And then set forth what
3 management did.
4 THE COURT: Uh-huh.
5 MR. CIMO: So, the alternative basis for
6 relief has nothing to do with the engagement letter,

7 but has everything to do with aiding and abetting the
8 conduct of the debtor's principals in breaching their
9 fiduciary duties. And there's a separate claim in

10 here for actual intent to hinder or delay. And the

11 fact that what the acts and omissions that BDO engaged

12 in assisted those principals in aiding them in breach
13 of their duties. And we believe those exist apart
14 from whatever agreement this entity had with the

15 debtor estate.

16 We also submit to you that this is one of
17 those claims that didn't exist until ultimately the
18 bankruptcy was filed, and that, although it is true

19 that you have to look at it under the Eleventh Circuit

20 case whether it arises or relates out of the

21 agreement, these actual intent allegations of the bad
22 conduct of the debtors is well outside professional
23 malpractice, and rises to the separate tort of aiding

24 and abetting breach of fiduciary duty, potentially

25 conspiracy to aid and abet breach of fiduciary duty

 

 

 

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1 is clearly outside of the four corners of an
2 arbitration provision.
3 THE COURT: Does that cause of action
4 exist in Florida?
5 MR. CIMO: Aiding and abetting does exist
6 in Florida.
7 THE COURT: And the breach of fiduciary
8 duty?
9 MR. CIMO: Absolutely. Aiding and
10 abetting, breach of fiduciary duty does exist under
11 Florida law, but we believe though that because we
12 could not file this 548 action anywhere else, we don't
13 believe the Eleventh Circuit addressed this issue of,
14 what if we file this before the arbitrators. I
15 submit to you they would have moved to dismiss and
16 said the arbitrators have no jurisdiction to hear a
17 548 claim or a 544 claim which is not a shoe-stepping
18 claim --
19 THE COURT: Uh-huh.
20 MR. CIMO: -- but a claim that only exists
21 when the petition is filed, and once the petition is
22 filed, then you have to weigh those new rights that
23 come into existence with the rights that derive under
24 these contracts that have these arbitration
25 provisions.

 

 

 

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1 THE COURT: Well, I think what the

2 Eleventh Circuit says I have to do is whether

3 enforcing the agreement would inherently conflict with
4 the underlying purposes of the Bankruptcy Code.

5 MR. CIMO: And we think the answer is

6 yes, because the underlying rationale and thrust of

7 544 and 548 is to have one forum decide who is

8 disgorging fraudulent transfers, and if we start

9 allowing arbitrators to decide who disgorges
10 fraudulent transfers, then we could have creditors
11 outside of bankruptcy filing their own fraudulent

12 transfer actions saying that they want to become the
13 estate representative to avoid and recover fraudulent
14 transfers.

15 THE COURT: But then doesn't that tie into

16 a conflict with the Hayes decision in that only the

17 trustee can bring those actions and not a creditor?

18 MR. CIMO: I was in a case called Swirn

19 before Judge Cristol where Judge Cristol did rule that
20 only the trustee as the representative of the estate
21 can do so, but there is countervailing law which the

22 Eleventh Circuit hasn't ruled on yet --

23 THE COURT: Uh-huh.
24 MR. CIMO: -- that says until that
25 judgment gets entered to avoid a fraudulent

 

 

 

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1 transfer --
2 THE COURT: Uh-huh.
3 MR. CIMO: -- any creditor can file a
4 motion or a complaint to avoid a fraudulent transfer.
5 Imagine what a horrible result that would be.
6 THE COURT: Well, let's just hope the
7 Supreme Court doesn't get ahold of it.
8 All right. So, my understanding,
9 Mr. Cimo, is your argument is that with respect to the

10 aiding and abetting, while the aiding and abetting

11 might have been made possible by the fact that BDO was

12 under contract with Cardiac, that that cause of action
13 is not derived from the agreement whether -- so, it's
14 not an arbitratable provision?

15 MR. CIMO: Well, I think the arbitration
16 provision -- I have to answer your question directly.
17 | THE COURT: Uh-huh.

18 MR. CIMO: The arbitration provision is so

19 broad that if somebody had a hangnail and they stubbed
20 it on a door at the debtor's premises and it had

21 something to do with BDO, they would argue that that's
22 arbitratable. That's how broad it is.

23 THE COURT: Uh-huh.

24 MR. CIMO: But I will tell you that when

25 you asked the question to me of the type of conduct

 

 

 

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1 that's in conflict with the Bankruptcy Code, there's
2 nothing more in conflict with the Bankruptcy Code than

3 the right of a fiduciary, whether it bea

4 debtor-in-possession or a trustee, to recover and

5 disgorge monies from a fraudulent transferee, nothing
6 more sacred under the Bankruptcy Code than that.

7 And if we're going to go to this equitable
8 estoppel, this judicial common law concept to override
9 a statutory provision, we've just enacted a new in

10 pari delicto concept that's going to apply to trustees

11 on arbitration provisions where even though you have a
12 statutory claim that you can only bring in Bankruptcy

13 Court, let's create a judicial doctrine to stop you

14 from litigating it in the one forum where you could

15 file it, and we respectfully submit because this claim

16 could only be filed before the Bankruptcy Court, there
17 can't be any rule that says this has to be
18 arbitratable, and to try to argue common law or the

19 Eleventh Circuit standard to say that this has to

20 weigh in favor of what the provision says, completely
21 belies and undermines the statutory provisions that

22 permit the trustee, as the sole representative of the
23 estate, to avoid and recover fraudulent transfers.

24 THE COURT: Well, what about the fact that
25 your action in State Court for the $6 million

 

 

 

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1 encompasses the return of the fees?
2 MR. CIMO: We don't dispute that, but at
3 the end of the day, that's a disgorgement action under

4 -| common law and that may ultimately not be decided by

5 the State Court or the arbitrators. They may very

6 well say, that's more appropriately done ina
7 bankruptcy proceeding, but we're not going to not
8 assert a disgorgement claim --
9 THE COURT: Uh-huh.
10 MR. CIMO: -- just because we had a right

11 to do so under the Bankruptcy Code. We don't believe
12 asking for that relief is adequate to make the estate

13 whole in the event it is determined that that

14 disgorgement claim for whatever reason should not be
15 permitted, whether we don't meet the elements under

16 state law, et cetera.

17 The fact remains, when a fiduciary asserts
18 a statutory claim that only he or she can assert --

19 THE COURT: Uh-huh.

20 MR. CIMO: -- far be it from someone to

21 argue that because we have similar relief in a State

22 Court that we can't go forward, we think that totally
23 undermines the purpose of 548 and 544.
24 THE COURT: Okay. Well, let's put aside

25 the breach of fiduciary duty or the aiding and

 

 

 

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1 abetting the breach of fiduciary duty for a moment.

2 I'm going to assume, number one, that that cause of

3 claim under whatever name you call it has not been

4 alleged in the complaint in the State Court.

5 MR. CIMO: There is a claim for aiding and
6 abetting in the State Court.

7 THE COURT: Okay. So you asked for aiding
8 and abetting in State Court.

9 | MR. CIMO: Yes.
10 THE COURT: Okay. And --
11 MR. CIMO: By the way, that's my
12 recollection. I don't have the State Court complaint
13 in front of me. If it's attached, I believe when I
14 drafted that complaint we added a count for aiding and
15 abetting.
16 MR. HUTTON: Your Honor, I can represent
17 to the Court it is part of the -- it's Count 2 in the
18 | State Court. |
19 THE COURT: Okay. All right. So you have
20 an aiding and abetting count and then you've asked for
21 -- so, these are not causes of action, you might call
22 them something different, but they're not claims that
23 you could not have made in the State Court action,
24 which I understand the Court hasn't ruled on that
25 arbitration provision yet.

 

 

 

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1 MR. CIMO: When you say these claims, you
2 mean the ones that are in front of you today?

3 THE COURT: I'm saying the facts giving

4 rise to the claim, not the title that you put --

5 MR. CIMO: We fully concede that the facts
6 that we've asserted in the State Court are the same

7 facts -- virtually identically the same facts that

8 we've alleged here. We're not contesting that there's
9 any difference, but we are saying is that under the
10 actual intent prong --
11 THE COURT: Uh-huh.
12 MR. CIMO: -- which we don't have in State
13 Court, there's a different set of criteria that are

14 employed that are unique and that which require of you

15 going outside of the four corners of the arbitration
16 provision.

17 THE COURT: Okay. Now, if the State Court
18 or the arbitrators of the State Court action

19 determined that BDO was not negligent or grossly

20 negligent or whatever, would you still have a claim

21 for aiding and abetting breach of fiduciary duty?

22 MR. CIMO: Possibly. I've never seen

23 that, but it's very possible that they can determine
24 that they've met the standard of care and yet acted in

25 a manner that aided and abetted separate conduct of

 

 

 

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1 the principals which resulted in aiding and abetting
2 liability. It's unlikely, but there's a possibility

3 that they could still aid and abet and still discharge

4 their duties under the code that governs that

5 profession.

6 THE COURT: So, you have no obligation to
7 intervene when a man is being murdered, but even if

8 you do nothing wrong, you could be found liable for

9 aiding and abetting --

10 MR. CIMO: TI don't think it works that

11 way. I think you have to look at every act and

12 omission on a case by case basis, and an expert may

13 say that X was not a violation of the rules of

14 professional conduct, but B -- but conversely it did
15 aid and abet because of knowledge and substantial

16 assistance, and this substantial assistance may have
17 been something more than issuing an audit opinion.

18 The point is, it's unlikely that that will

19 happen, but it could happen. There could be a
20 scenario where the jury comes out and says, not
21 professional negligence, but there seemed to be aiding

22 and abetting a breach of fiduciary duty.

23 THE COURT: Okay. Well, let me ask about
24 this, you have a count for actual intent to defraud.
25 MR. CIMO: No, we don't use the word

 

 

 

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1 defraud.

2 THE COURT: I'm sorry.

3 MR. CIMO: We use intent to hinder or
4 delay.

5 THE COURT: Intent to hinder or delay

6 creditors. Okay. And the basis for your allegations

7 of the actual intent is?
8 MR. CIMO: Badges of fraud analysis.
9 THE COURT: Well, I'm just trying to find

10 that, and that goes to the breach of fiduciary duty

11 claims? In other words, your badges of fraud are --
12 MR. CIMO: Paragraph 45.

13 THE COURT: 25 not 45.

14 MR. CIMO: Paragraph 45.

15 THE COURT: Oh, Paragraph 45. Okay.

16 Well, it says the debtor made the 2004 to 2008
17 transfers with the actual intent to hinder or delay
18 creditors. I'm just trying to understand how paying a

19 professional, no matter how poorly they allegedly

20 performed, would translate into an actual intent to

21 hinder or delay creditors.

22 MR. CIMO: That's a fair question. It's a
23 case that I lost in Model Imperial case, a bank

24 provided value, lots of value to Model Imperial, and

25 the Court said the value you provided you don't get

 

 

 

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1 credit for because you're not a good faith transferee.
2 THE COURT: Yeah, but I know the facts of
3 that case pretty well, Mr. Cimo.

4 MR. CIMO: Every case has a different --

5 THE COURT: Right. What I am saying is

6 that in that case the Court found that there was

7 actual knowledge by the debtor and the bank with

8 respect to loan provisions that didn't allow the loan
9 to be made.
10 MR. CIMO: The Court found that Hamilton
11 Bank was on inguiry notice that there was something
12 about the transactions which would be a fraudulent
13 transfer.
14 THE COURT: Okay.
15 MR. CIMO: And it's an inquiry notice
16 standard. It's not the trustee's burden to establish

17 a lack of good faith. It's the transferee's burden to

18 establish that they were in good faith, and when a

19 professional does more than just either fall below the
20 standard of care or have knowledge of specific issues
21 which would render the transfer avoidable, we believe
22 that that case law in the Model decision regarding

23 good faith could be applicable to professionals
24 equally as it is to a bank or any other creditor

25 dealing with the debtor.

 

 

 

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1 THE COURT: But what I'm trying to
2 understand is that you're suggesting that the debtor
3 paid a professional that didn't deserve to be paid and
4 that's a grounds for actual intent to hinder or delay
5 creditors?
6 MR. CIMO: No, we're claiming that in
7 order to determine whether the transfers were made
8 with actual intent, they needed to get clean audited
9 opinions from their accountants, and to the extent the
10 accountants worked with management, in this
11 particular case the allegation is the receivables were
12 overstated, that these receivables were overstated and
13 banks loaned on those receivables thinking the
14 receivables were worth more than they really were,
15 created a scenario where the debtor was not acting
16 appropriately. He was acting with actual intent to
17 hinder or delay certain creditors.
18 And when you do a badges of fraud
19 analysis, whether there's lack of insolvency, not
20 paying its debt as they became due, insufficient value
21 because there were allegations that the auditing
22 services were less than stellar, it raises factual
23 issues whether these transfers were made with actual
24 intent to hinder or delay. We're not making any
25 allegation that there was any intent to defraud.

 

 

 

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1 THE COURT: Okay. Let me ask you one

2 other question and then I'm going to ask Mr. Hutton

3 for a brief response.

4 Why shouldn't I continue the hearing on

5 this, in other words, wait and see what the State

6 Court does, I mean, what is gained if the State Court
7 either denies or grants the motion to arbitrate, why
8 shouldn't this matter, whether I grant the motion to
9 arbitrate or not, be stayed pending resolution of
10 those other issues, so that you're not litigating in
11 two courts the exact same factual issues?
12 MR. CIMO: Well, when you get into issues
13 of judicial economy, et cetera, and whether or not

14 this action should be stayed, we respectfully believe

15 that those issues are not ripe for a determination
16 right now until we see what happens not only on the
17 arbitration motion in State Court, but whether any
18 appeal which comes out of that may be resolved because

19 one party may not like what happens from that and that

20 may be an appealable order.

21 We just don't think that justice should be
22 delayed while that process is going forward and until
23 there's more information about where these cases are
24 going, we have a right, we believe, to go forward on
25 this action and if we win on this case, it could very

 

 

 

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1 well be it could bring about a quicker resolution of
2 the State Court case because we're going to try issues
3 in this case that are no doubt related to what's

4 happening in the State Court, but the fact remains, if

5 -we could have filed these in State Court, we could

6 have very well, but we couldn't. So, because that's
7 the case, why should we be delayed in prosecuting our
8 claim if we have a right to prosecute these claims.

9 In any event like Mr. Hutton stated, this

10 will be heard by the Article 3 judge sitting in

11 bankruptcy, not by you because of the jury trial

12 demand, but at the end of the day the trustee has a

13 right to try to disgorge those transfers. And for all
14 I know, they might write a check to us, if you deny

15 the stay motion, for that $200,000 and change mooting

16 out this entire complaint, meaning all that will be
17 left is the State Court case. I will tell you, we

18 will do everything we can to coordinate discovery in
19 regard to both cases. It's not our intention -- I'm
20 on a contingency.

21 THE COURT: Uh-huh.

22 MR. CIMO: It's not my intention to take
23 four or five depositions of the same person. We want
24 to do everything we can to promote judicial economy.
25 We just don't believe being stopped in our tracks to

 

 

 

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1 disgorge a fraudulent transfer should be employed at

2 this early stage of the proceeding, and this adversary
3 is still at its early stages, although I do concede

4 the underlying bankruptcy case has been around for a

5 little bit of a while.

6 THE COURT: Okay. Thank you.

7 MR. CIMO: I also wanted to add that --

8 THE COURT: Yes, sir.

9 MR. CIMO: -- we don't think dismissal is
10 appropriate under any circumstances because our
11 statute would have expired. So if you are going to do
12 anything in terms of granting relief, we don't want
13 the case dismissed. If you going to allow us to
14 arbitrate, we just want that arbitration.
15 TF that's what your decision is, we want

16 that stature to be deemly complied with if we're the

17 ones that have to file the arbitration proceeding. We
18 don't want to be punished because at the end of the
19 day this is one of those claims where we filed within

20 the two years --

21 THE COURT: Right.

22 MR. CIMO: -- and it will not be timely if
23 we're required to dismiss this and file a separate

24 arbitration proceeding.

25 THE COURT: Well, I don't think that they

 

 

 

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1 asked for a dismissal.

2 MR. CIMO: Some cases permit it, I just

3 want to point that we, you know --

4 THE COURT: No, that wouldn't happen.

5 MR. CIMO: Thank you, Judge.

6 THE COURT: All right. Mr. Hutton,

7 anything that you want to respond to?

8 (Thereupon, The Court reporter changed her
9 paper and a discussion was held off the record. )
10 THE COURT: All right. So, are you ready?
11 Court REPORTER: Yes, Your Honor.
12 THE COURT: So, Mr. Hutton, any brief
13 response?
14 MR. HUTTON: Yes, Your Honor. And I'm

15 glad Your Honor raised or asked about the actual fraud
16 issue because --

17 THE COURT: Well, but Mr. Cimo said there
18 is no request for actual fraud, it's intent to hinder
19 or delay.
20 MR. HUTTON: Intent to hinder or delay.
21 THE COURT: Okay. But that's different.
22 MR. HUTTON: Actual intent, I should say.
23 Because we, too, saw the, you know, one sentence
24 allegation in Paragraph 45, but nothing else that we
25 could find that related to that, certainly no express

 

 

 

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1 badges of fraud alleged anywhere in the complaint, and

2 so I sort of scratched my head in terms of, you know,
3 where that came from other than another attempt to

4 avoid arbitration of these claims.

5 Then, I think, Mr. Cimo tried to tie it in
6 with the aiding and abetting management issue, and so

7 I went back and looked at those allegations of the

8 complaint, while he was speaking, and it turns out
9 that those two mirror allegations that are in the
10 State Court, because in State Court and Mr. Cimo said,

11 well, these claims can only be brought here. That's
12 not so. They were, the aiding and abetting claim was

13 brought in State Court. In fact, I think that's where

14 they're seeking a ruling, because they're not just
15 seeking to recover the fees paid, they're seeking

16 damages in excess of $6 million. |

17 - But if you compare the allegations that
18 are made in this complaint, in Paragraphs 23 through
19 28(g), they are verbatim the same as the allegations

20 that support the aiding and abetting claim in the

21 State Court, in the amended complaint it's Paragraphs
22 28 and 32 through 38(g). But I think there's a

23 disconnect between saying that BDO aided and abetted
24 management's breaches of fiduciary duty and saying

25 that by paying fees to BDO there is some actual intent

 

 

 

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1 to hinder delay or defraud. I think there's a

2 disconnect there and I don't think these

3 allegations --

4 THE COURT: Hinder or delay, no defraud.

5 MR. HUTTON: I think there's a disconnect
6 between saying, well, BDO somehow aided and abetted

7 management's breaches of duty.

8 THE COURT: By being incompetent?

9 _ MR. HUTTON: By not catching certain acts
10 in terms of, you know, the statement of receivables or

11 what, you know, the things that are alleged here, in
12 saying, I think it's a separate issue, whether

13 payments that were made to BDO, the $215,000 that was
14 paid for auditors over four years was management or

15 the debtor, the intent to hinder or delay creditors by
16 making those payments. I don't see how the allegation
17 they've made regarding the aiding and abetting count
18 which mirror those in State Court relate to the

19 payments of those transfers that are really the only

20 thing at issue in the adversary complaint.

21 THE COURT: Okay.

22 MR. HUTTON: So I think there's a

23 disconnect there. The --

24 THE COURT: Okay. What about Mr. Cimo's

25 argument that equitable estoppel can't apply because

 

 

 

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1 his cause of action can't exist outside of Bankruptcy
2 Court?
3 MR. HUTTON: Well, it actually does. The
4 -- this is 544. It -- they rely upon 726, and this
5 action could have been brought by creditors outside of
6 bankruptcy. In fact, they allege that there are
7 actual creditors that existed that could have brought
8 the claim, that's a necessary element of the cause of
9 action they're asserted.
10 THE COURT: Uh-huh.
11 MR. HUTTON: So it did exist. I think the
12 issue is those creditors were nonsignatories to the
13 agreement. Our answer to that is equitable estoppel
14 because they relied upon the agreement establishing
15 the claims.
16 THE COURT: Okay.
17 MR. HUTTON: And, you know, to the extent
18 that Hayes said, that Mr. Cimo said, the parties to
19 the arbitration agreement are bound, well, we would
20 submit that in Andersen vs Carlisle the Supreme Court
21 held otherwise and said that, it's not necessary just
22 the parties to the arbitration agreement, and the
23 Supreme Court -- as we referenced, there is Eleventh
24 Circuit authority, McBro and the other cases we've
25 cited, that recognized that even in situations where

 

 

 

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1 neither party is a party to the arbitration agreement
2 equitable estoppel principles can apply and --

3 THE COURT: Okay.

4 MR. HUTTON: -- and require the

5 application of the arbitration provision, and we think
6 that's certainly the case here.

7 THE COURT: Okay. Thank you.

8 MR. HUTTON: One last thing?

9 THE COURT: Very briefly.
10 MR. HUTTON: Very very brief.

11 THE COURT: Because now I'm running an
12 hour behind schedule.

13 MR. HUTTON: There was a comment or a
14 concern about discovery in arbitration. Assuming,
15 and I'm not the expert in arbitration, but I conferred
16 with some of my colleagues who do it, and I am told
17 this would be a complex arbitration. I have a copy of
18 the arbitration rules if Your Honor would like to see
19 them.
20 THE COURT: Please no.
21 MR. HUTTON: Where claims are in excess of
22 a million, there is discovery and discovery typically
23 is allowed in arbitration. So, if there's any concern
24 about not being able to get discovery in an
25 ‘arbitration proceeding, that should not be cause for

 

 

 

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1 concern.

2 And the second thing I want to mention is

3 that BDO has already produced its work papers to the

4 trustee. The Kluger firm served a Rule 2004 request

5 back in February of 2009 and I understand that BDO

6 produced all its work papers in response to that 2004
7 subpoena, so -- and I can assure Your Honor discovery
8 of something we'd want in the arbitration as well.
9 THE COURT: Okay. All right. Is this
10 binding arbitration?
11 MR. CIMO: Yes.
12 THE COURT: Okay. So, it will have

13 collateral estoppel effect?

14 MR. HUTTON: Yes, Your.Honor.

15 MR. CIMO: Yes, Judge. We believe it

16 will.

17 THE COURT: Okay. All right. I'm going
18 to grant the motion to stay -- well, no. Let me back
19 up. I'm going to grant the motion to compel

20 arbitration subject to the following: If the

21 arbitrators determine that they do not want to

22 adjudicate these issues and merely the facts, okay,
23 then we will come back here at such time as the

24 arbitration is completed, continue with this

25 litigation, but with whatever collateral estoppel

 

 

 

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1 effect the ruling of the arbitrators or wherever you

2 litigate this, whatever impact those have.

3 And for the reasons, I don't want to

4 repeat myself too much, but as I said, my reading of

5 the Whiting-Turner versus Electric Machinery case in

6 my view compels me to do as I've described earlier,

7 which is in determining whether the matter is

8 arbitrable, whether it's core or noncore, I have to

9 look at the derivation of the causes of action rather
10 than the nature of the cause of action, because if the
11 -- as I said before, if the delineation is core versus
12 noncore, then Whiting-Turner just doesn't make sense.
13 And so, because of that and because of
14 that causes of action that are alleged in the
15 complaint all derive from the allegations of negligent
16 or gross performance of the engagement letters, those
17 would be subject to arbitration under the terms of the
18 letter, and notwithstanding that while I do appreciate
19 Mr. Cimo's argument that this would -- that granting
20 this motion would inherently conflict with the
21 underlying purposes of the Bankruptcy Code, in this
22 particular instance, and I'm not saying that this
23 would apply in every case in which there's a
24 fraudulent conveyance action or every case in which
25 there is well, 544, 548, I'm just saying in this

 

 

 

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1 particular case, the purposes of the Bankruptcy Code
2 which are to achieve recovery by the trustee of assets
3 that the trustee believes -- well, assets or the

4 liquidation of claims that the trustee has the right
5 to assert on behalf of creditors, that by granting the
6 motion to arbitrate does not conflict with the

7 underlying purposes of the Bankruptcy Code in this

8 case, and I just want to make this very clear. I

9 believe that this decision has to be made on a case by
10 case basis, not on a cause of action by cause of
11 action basis.
12 And so, therefore, I am going to grant the
13 motion, but as I said before, I want to make very
14 clear that if the arbitrators decline to adjudicate
15 the issues rather than the facts relating to the
16 issues, we will come back here at the appropriate
17 time, and so I will grant a stay, not a dismissal, but
18 a stay of this litigation pending the conclusion of
19 the arbitration however it concludes.
20 MR. CIMO: Judge, there is no arbitration
21 yet. There's a motion to compel in the State Court.

22 I just wanted to clarify that for you.

23 THE COURT: Right, so -- but I'm granting
24 the motion to compel in this case. Now, we have do
25 have the issue of those two missing or one missing

 

 

 

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1 engagement letter. There is case law, which, of

2 course, I cannot find right this second because I

3 forgot to write it down, that says that even when

4 there are nonarbitrable provisions, but they are

5 entwined with the arbitrable provisions, that the

6 Court can defer on those matters subject to

7 resolution, and it appears to me that if the State

8 Court grants the motion to compel and all of the

9 allegations are being resolved by the arbitrators,

10 that it's appropriate to compel arbitration.

11 On the other hand, if the State Court

12 | determines that a portion of the complaint is not

13° going to be arbitrated, then my motion to stay -- my
14 granting of the motion to stay stands and we will wait
15 until the conclusion of the State Court proceedings

16 and again come back here at such time as is

17 appropriate to determine how the resolution of the

18 State Court action impacts the causes of action that
19 are here.
20 So, Mr. Hutton, I'm going to ask you to
21 prepare the order and share your draft with Mr. Cimo.
22 It can be as simple, if you gentlemen wish, as for the
23 reasons stated on the record and then just put what
24 we're going to do and I think that should be fine.
25 MR. HUTTON: Thank you, Your Honor. I

 

 

 

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will do so.
MR. CIMO: Thank you, Judge.
THE COURT: All right.

(Thereupon, the hearing was concluded.)

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1 CERTIFICATION

3 STATE OF FLORIDA )
4 )

5 COUNTY OF MIAMI-DADE)

7 I, Carmen E. De La Cruz, Shorthand Reporter

8 and Notary Public in and for the State of Florida at

9 Large, do hereby Certified that the foregoing
10 proceedings were taken before me at the date and place
11 as stated in the caption hereto on Page 1; that the
12 foregoing computer-aided transcription is a true
13 record of my stenographic notes taken at said
14 proceedings.

15
16
17 WITNESS my hand this 20th day of October,
18 2010.

19
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al

 

22 Carmen E. De La Cruz
23 Court Reporter and Notary Public
24 DD545111 Expiration Date 08/2011

25

 

 

 

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